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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                           :
 KRISTI SMOYER, EZZAT MOHAMED,                             :   CIVIL ACTION
 KELLI KRALL, LISA SEESE, JEREMY                           :
 GINGHER and ANTHONY SELLERS,                              :   No. ___________________
                        Plaintiffs,                        :
                v.                                         :   FILED ELECTRONICALLY ON
                                                           :   OCTOBER 25, 2021
 SPEEDWAY LLC,                                             :
                                    Defendant.             :   JURY TRIAL DEMANDED
                                                           :

                                             COMPLAINT

       Kristi Smoyer (“Smoyer”), Ezzat Mohamed (“Mohamed”), Kelli Krall (“Krall”), Lisa

Seese (“Seese”), Jeremy Gingher (“Giner”), and Anthony Sellers (“Sellers”) (collectively

“Plaintiffs”) bring this lawsuit against Speedway LLC (“Defendant”), seeking all available relief

under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201, et seq. and the Pennsylvania

Minimum Wage Act (“PMWA”), 43 P.S. §§ 333.101, et seq.

                                   JURISDICTION AND VENUE

       1.        Jurisdiction over the FLSA claim is proper under 29 U.S.C. § 216(b) and 28

U.S.C. § 1331.

       2.        Jurisdiction over the state law claim is proper under 28 U.S.C. § 1367.

       3.        Venue in this Court is proper under 28 U.S.C. § 1391.

                                                PARTIES

       4.        Plaintiffs reside in this judicial district. Specifically:

                 (a) Smoyer resides in Allentown, PA;

                 (b) Mohamed resides in Breinigsville, PA;

                 (c) Krall resides in Lebanon, PA;
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                 (d) Seese resides in Manheim, PA;

                 (e) Gingher resides in Lancaster, PA; and

                 (f) Sellers resides in Elkton, MD.

         5.      Defendant is a corporation headquartered in Enron, OH and is an employer

covered by the FLSA and the PMWA.

                             THE DaROSA COLLECTIVE ACTION

         6.      Plaintiffs previously joined a class/collective action filed in the District of

Massachusetts, styled DaRosa v. Speedway LLC, 1:19-cv-10791 (“the DaRosa action”), and

alleging that Defendant violated the FLSA and the PMWA by failing to pay overtime premium

compensation to current/former General Managers (“GMs”) employed at Defendant’s

convenience stores. The FLSA claim proceeded as a “collective” action on behalf of Plaintiffs

and over 1,200 other GMs who “opted-in” to the collective per 29 U.S.C. § 216(b). Meanwhile,

the PMWA claim proceeded on behalf of putative classes of PMWA GMs per Federal Rule of

Civil Procedure 23.

         7.      On August 30, 2021, the DaRosa Court entered an opinion “decertifying” the

nationwide FLSA collective and refusing to certify the PMWA claim as a Rule 23 class action.

See DaRosa v. Speedway LLC, 2021 WL 3861164, 2021 U.S. Dist. LEXIS 163477 (D. Mass.

Aug. 30, 2021). The DaRosa Court’s August 30 opinion did not address the “merits” of the

GMs’ overtime rights claims. Rather, the Court reasoned that the GMs’ claims turned on the

consideration of “individualized” facts that prevented the claims from being resolved in a single

trial.

         8.      When an FLSA collective action is “decertified,” the individual FLSA claims of

employees who “opted-in” to the collective are dismissed without prejudice to the continued




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pursuit of their individual claims in courts of proper jurisdiction. See Campbell v. City of Los

Angeles, 903 F.3d 1090, 1110 (9th Cir. 2018); Halle v. West Penn Allegheny Health System Inc.,

842 F.3d 215, 226 (3d Cir. 2016); Mooney v. Aramco Services Co., 54 F.3d 1207, 1214 (5th Cir.

1995). Likewise, where class certification is denied under Civil Rule 23, putative class members

are free to pursue the underlying claims on an individual basis, and the applicable limitations

period is tolled as of the date on which such claims were initially asserted. See generally

American Pipe & Construction Co. v. Utah, 414 U.S. 538 (1974).

        9.      Mindful of the above principles, Plaintiffs commence the instant lawsuit in order

to continue the pursuit of unpaid overtime wages and related damages.

                                               FACTS

        10.     Defendant owns and operates convenience stores.

        11.     Defendant employed Plaintiffs as GMs and assigned Plaintiffs to store located in

within this judicial district. Specifically:

               (a) Defendant employed Smoyer as a GM from approximately July 2018 until the

                   present and assigned Smoyer to stores located in Allentown, PA, Bethlehem,

                   PA, and Whitehall, PA;

               (b) Speedway employed Mohamed as a GM from approximately 2012 until

                   January 2019 and assigned Mohamed to stores located in Fleetwood, PA,

                   Hackettstown, NJ, and Newton, NJ;

               (c) Speedway employed Krall as a GM from approximately April 2016 until

                   January 2019 and assigned Krall to a store located in Wernersville, PA;

               (d) Speedway employed Seese as a GM from approximately September 2018 until

                   December 2019 and assigned Seese to a store located in Lititz, PA;




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               (e) Speedway employed Gingher as a GM from approximately May 2017 until

                   approximately January 2018 and assigned Gingher to a store located in Leola,

                   PA.

               (f) Speedway employed Sellers as a GM from approximately November 2017 until

                   April 2019 and assigned Sellers to a store located in Paradise, PA.

         12.    Plaintiffs often worked in the store alone or with only one other store employee.

         13.    Notwithstanding the “Manager” job title, Plaintiffs spent almost all working hours

performing the same types of non-managerial tasks performed by other store employees who

were paid an hourly wage. These tasks included, among other things, cleaning, waiting on

customers, running the cash register, stocking shelves, and performing rudimentary inventory

tasks.

         14.    Defendant paid Plaintiffs a salary. Specifically:

                (a) Defendant paid Smoyer a salary of approximately $848 per week;

                (b) Defendant paid Mohamed a salary of approximately $986 per week;

                (c) Defendant paid Krall a salary of approximately $904 per week;

                (d) Defendant paid Seese a salary of approximately $743 per week;

                (e) Defendant paid Gingher a salary of approximately $789 per week; and

                (f) Defendant paid Sellers a salary of approximately $860 per week;

         15.    Defendant generally schedules GMs to work at least 50 hours per week.

Consistent with this policy, Plaintiffs often worked 50 or more hours per week.

         16.    Defendant did not pay Plaintiffs any overtime premium compensation for hours

worked over 40 per week.

         17.    In failing to pay Plaintiffs any overtime premium compensation, Defendant acted




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willfully and with reckless disregard of clearly applicable FLSA and PMWA provisions. For

example, prior to classifying Plaintiffs as ineligible for overtime compensation, Defendant never

assessed the actual circumstances of Plaintiffs’ employment within their assigned stores.

                                            COUNT I

       18.     The FLSA requires that employees receive overtime premium compensation

calculated at 150% of the employee’s regular pay rate for hours worked over 40 per week. See

29 U.S.C. § 207(a)(1).

       19.     Defendant violated the FLSA by failing to pay Plaintiffs overtime premium

compensation for hours worked over 40 per week.

                                            COUNT II

       20.     The PMWA requires that employees receive overtime premium compensation

calculated at 150% of the employee’s regular pay rate for hours worked over 40 per week. See

43 P.S. § 333.104(c).

       21.     Defendant violated the PMWA by failing to pay Plaintiffs overtime premium

compensation for all hours worked over 40 per week.

                                         JURY DEMAND

       Plaintiffs demand a jury trial.

                                    PRAYER FOR RELIEF

       Plaintiffs seek the following relief: (a) unpaid overtime wages; (b) all available

liquidated damages and penalties; (c) prejudgment interest; (d) litigation costs, expenses, and

attorneys’ fees; and (e) such other and further relief as the Court deems just and proper.




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Date: October 25, 2021                       /s/ Mark J. Gottesfeld
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